Case 23-15758-SLM              Doc 202-5 Filed 04/05/24 Entered 04/05/24 14:41:02                Desc
                                 Certificate of Service Page 1 of 3




 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-2(c)
 McManimon, Scotland & Baumann, LLC
 427 Riverview Plaza
 Trenton, NJ 08611
 609.695.6070
 Attorneys for Andrea Dobin,
 Chapter 11 Trustee

 In Re:                                               Case No. 23-15758(SLM)

 Supor Properties Bergen Avenue LLC,                  Honorable Stacey L. Meisel, U.S.B.J.

           Debtor.                                    Chapter 11


                                   CERTIFICATION OF SERVICE

1.        I,      Terri E. Olsen                 :

               represent the              in the above-captioned matter.

               am the assistant/paralegal for    Andrea Dobin, the Chapter 11 Trustee           in the
               above captioned matter.

               am the                     in the above case and am representing myself.


2.        On       4.5.2024                 , I sent a copy of the following pleadings and/or documents
               to the parties listed in the chart below:

          Fee Application for McManimon Scotland & Baumann, LLC
          Affidavit of Andrea Dobin
          Proposed Order
          Certification of Service

3.        I hereby certify under penalty of perjury that the above documents were sent using the
          mode of service indicated.



Dated:         4.5.2024                                                  /s/ Terri E. Olsen
                                                                 Terri E. Olsen
Case 23-15758-SLM             Doc 202-5 Filed 04/05/24 Entered 04/05/24 14:41:02                  Desc
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 Name and Address of Party Served             Relationship of                 Mode of Service
                                             Party to the Case
Supor Properties Bergen Avenue LLC        Debtor                        Hand-delivered
433 Bergen Avenue                                                       Regular mail
Kearny, NJ 07032                                                        Certified mail/RR
                                                                        Other
                                                                        (As authorized by the Court or by rule. Cite
                                                                 the Rule if applicable.)*)

Charles M. Forman, Esq.                   Requested Service             Hand-delivered
Forman Holt                                                             Regular mail
365 West Passaic Street                                                 Certified mail/RR
Suite 400
                                                                        Other
Rochelle Park, NJ 07662                                                 (As authorized by the Court or by rule. Cite
                                                                 the Rule if applicable.)*)

Michael Holt, Esq.                        Requested Service             Hand-delivered
Forman Holt                                                             Regular mail
365 West Passaic Street                                                 Certified mail/RR
Suite 400
                                                                        Other
Rochelle Park, NJ 07662                                                 (As authorized by the Court or by rule. Cite
                                                                 the Rule if applicable.)*)

Caitlin C. Conklin, Esq.                  Requested Service             Hand-delivered
K&L Gates LLP                                                           Regular mail
One Newark Center, 10th Floor                                           Certified mail/RR
1085 Raymond Blvd
                                                                        Other
Newark, NJ 07102                                                        (As authorized by the Court or by rule. Cite
                                                                 the Rule if applicable.)*)

Albert A. Ciardi, III, Esq.               Requested Service             Hand-delivered
Ciardi Ciardi & Astin                                                   Regular mail
1905 Spruce Street                                                      Certified mail/RR
Philadelphia, PA 19103
                                                                        Other
                                                                        (As authorized by the Court or by rule. Cite
                                                                 the Rule if applicable.)*)

Daniel Eliades, Esq.                      Requested Service             Hand-delivered
David Catuogno, Esq.                                                    Regular mail
K&L Gates LLP                                                           Certified mail/RR
One Newark Center, 10th Floor
                                                                        Other
1085 Raymond James Blvd                                                 (As authorized by the Court or by rule. Cite
Newark, NJ 07102
                                                                 the Rule if applicable.)*)




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Derek J. Baker, Esq.                             Requested Service                      Hand-delivered
Reed Smith LLP                                                                          Regular mail
Princeton Forrestal Village                                                             Certified mail/RR
136 Main Street
                                                                                        Other
Suite 250                                                                               (As authorized by the Court or by rule. Cite
Princeton, NJ 08540
                                                                                 the Rule if applicable.)*)

Jeffrey E. Tomei, Esq.                           Counsel for Debtor                     Hand-delivered
Tomei & Tomei PLLC                                                                      Regular mail
963 Post Avenue, 2nd Floor                                                              Certified mail/RR
Staten Island, NY 10302
                                                                                        Other
                                                                                        (As authorized by the Court or by rule. Cite
                                                                                 the Rule if applicable.)*)
BEB Credit Group II LLC                          Secured Creditor                       Hand-delivered
26 Harbor Park Drive                                                                    Regular mail
Port Washington, NY 11050                                                               Certified mail/RR
                                                                                        Other
                                                                                        (As authorized by the Court or by rule. Cite
                                                                                 the Rule if applicable.)*)

Office of US Trustee                                                                    Hand-delivered
One Newark Center                                                                       Regular mail
Newark, NJ 07102                                                                        Certified mail/RR
                                                                                        Other
                                                                                        (As authorized by the Court or by rule. Cite
                                                                                 the Rule if applicable.)*)


*May account for service by fax or other means as authorized by the court through the issuance of an Order
Shortening Time.


4893-0374-3667, v. 1




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